The appellant, Charles Brown, was convicted in the county court of Canadian county at the July, 1911, term for a violation of the prohibitory liquor law, and his punishment was assessed at a fine of five hundred dollars and six months' confinement in the county jail. The appellant, Carl Oelke, was found guilty in the county court of Canadian county at the July, 1911, term of a violation of the prohibitory liquor law, and his punishment was assessed at a fine of one hundred dollars and thirty days' confinement in the county jail. An appeal was prosecuted in each of these two causes, but counsel for appellants have never made any appearance in this court or filed a brief in either of said causes. Therefore the judgment of the lower court in each of said causes is affirmed for want of prosecution of said appeals.